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 8                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10

11   LEROY JOSEPH SHELLEY,         ) NO. CV 19-7443-GW(E)
                                   )
12             Petitioner,         )
                                   )
13        v.                       )    JUDGMENT
                                   )
14   CYNTHIA Y. TAMPKINS, Warden, )
                                   )
15             Respondent.         )
     ______________________________)
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18         Pursuant to the Order Accepting Findings, Conclusions and
19   Recommendations of United States Magistrate Judge,
20

21         IT IS ADJUDGED that the Petition is denied and dismissed with
22   prejudice.
23

24               DATED: January 11, 2021.
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27                                    _________________________________
                                                 GEORGE H. WU
28                                       UNITED STATES DISTRICT JUDGE
